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MMl\/[ CI-IAPTER 13 PLAN (Individual Adiustment of Debts)

XX (Indicate ls‘, 2“", etc: amended, if applicable)

 

` DEBTOR: UBALERICO SANCI-IEZ CA"SE NO.: 16- !85-¢93

MONTHLY PLAN PAYMENT: lncluding trustee's fee of 10% and beginning 30 days from filing/conversion date,
Debtor(s) to pay to the trustee for the period of§§)_ months. ln the event the trustee does not collect the full 10%, any portion
not collected Will be paid to creditors pro-rata under the plan:

A. §1,508.85 for months 1 to 15; and v
B. §1,840.43 for months 16 to 60 in order to pay the following creditors:

Administrative: Attorney'S Fee - §3,650.00 TOTAL PA]D 131,150.00
Base Fce $3,500 00 plus $150.00 costs
Balance Due $2 500.00 payable $166.68/m0. (Mos. 1 to 15)

 

Secured Creditors: [Reta;in Liens pursuant to ll U.S.C. §1325 (a)($)] Mortgage(s)/Liens on Real or Personal Propei'ty:

Seterus Arrcaragc $21,011.47

POB 2008 Arrears Payment $125.00/mo. (Moa. l to 15)
Grand Rapids, MI 49501-2008 Arrears Payment $425.26/1no. (Mos. 16 to 60)
#8103 Regular Payment $I,OS0.00/mo. (Mos. 1 to 60)

IF YOU ARE A SECURED CREDITOR LISTED BELOW, 'I`HE PLAN SEEKS TO VALUE 'I'HE COLLATERAL
SECUR]NG YOUR CLAIl\/I IN THE AMOUNT`INDICATED. A SEPARA'I`E MOTION WILL ALSO BE SERVED
ON YO-U PURSUANT TO BR 7 004 and LR 3015-3.

 

Secured Creditor Description of Interest Plan Months of Total Plan
Collateral and Rate Payinents Payment Payments
Value of Collateral

 

 

 

 

 

 

 

 

Priority Creditors: [as defined in ll U.S.C. §507] - NONE

lntemal Revenue Service Total Due $1,100.00

POB 7317 Paymem $24.45/m0. (Mos. 16 to 60)
Philadelphia, PA 19101

#0757

Unsecured Creditors: Payw $143. 41/mo. (Months 16 to 60). Pro rata dividend Will be calculated by the Trustee upon
review of filed claims after bar date.

   

 

Other Provisions eluded Above
I decl®\a e and correct under penalty of perjury
UBAL(ENQCS S}$§N' HEZ, Debtor

Dated: ' § l¢§ ____

LF-31 (rev. Ol/OS/lO)

 

